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                                                 U.S. Department of Justice
 4J
                                                 United States Attorney
                                                 District ofVew Jersey


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                                                                                            I ax (93645-349




                                                 March 27,                 2009



Via Electronic Mail

Hon. Peter C. Sheridan, U.S.D.J
United States District Court
Clarkson S. Fisher Federal Courthouse
402 E. State Street
Trenton, New Jersey 08608


         Re:          United States v. Dalnave Navigation et al.
                      Crim. No. 09-130 (PGS)


Dear Judge Sheridan:

     Your Honor may recall that during a telephone conference
with the parties on Monday, March 23, 2009, an issue arose
regarding defendants’ request for interpreting services during
the upcoming depositions.  At the time, Your Honor indicated that
the Court would consider a request to arrange for the
interpreting services for the defendants.  We hereby make such
request.

     At the request of counsel for Defendant Papadakis, we are
informing the Court that Defendant Papadakis prefers the
following interpreter, who has been used previously in this
matter:


                               Eo Demetra Luttrell
                               Tele: (609) 538-8299
                               Cell: (609) 558-4259
                               E-mail: eciic Lctrra.                 .   corn


        For the Court’s information,            the depositions are scheduled
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to be conducted between April 1, 2009 and April 15, 2009 in
Courtroom 4C of the Martin Luther King, Jr. Federal Courthouse,
Newark, New Jersey.




                                       Very truly yours,

                                       RALPH J. MARRA, JR.
                                       Acting United States Attorney

                                                  /s/

                                       By:   Kathleen P. O’Leary
                                             Assistant U.S. Attorney




cc:   (via email and regular mail)

      Michael G. Chalos, Esq.
      Carl Woodward, Esq.
      James Plaisted, Esq.




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